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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

                             Judge William J. Martinez

                        Criminal Case No. 22-CR-0012-WJM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     LAWRENCE RUDOLPH,
2.     LORI MILLIRON,

      Defendants.
__________________________________/

                   LAWRENCE RUDOLPH’S MOTION
     FOR ISSUANCE OF RULE 17(c)SUBPOENAS TO CBS BROADCASTING

       Lawrence Rudolph, by and through undersigned counsel, respectfully submits

this request for the issuance of Rule 17(c) subpoenas to CBS Broadcasting, Inc., which

produces the show 48 Hours. See Ex. A. We respectfully request that the material in

the subpoena be produced to the defense at least 30 days before trial. Once received,

we will produce that material to the government. The government takes no position on

this motion.

                                        Facts

       The government’s case against Dr. Rudolph is circumstantial. There are no

witnesses to Bianca Rudolph’s untimely death. Although Zambian officials and private

insurers all ruled the death accidental, the government contends that she was

murdered based mostly upon its experts’ conjecture that it probably was not an

accident. Trial is set for July 11, 2022. DE105.
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      The case has garnered national and international publicity, including the recent

airing of a 48 Hours episode produced and broadcasted by CBS called “Death on

Safari.” During production of this episode, numerous witnesses were interviewed on

camera. This motion seeks the issuance of a subpoena for the raw footage of the

interviews of only two of those witnesses, both of whom reside in Africa: Spencer

Kakoma and Roston Yeyenga. The footage sought is not voluminous and contains no

confidential or privileged information but only on-the-record statements made with full

knowledge that they could be broadcast across the United States and Canada.

      Before bringing this motion, counsel contacted CBS to request the raw footage

sought. A CBS senior vice president and associate general counsel responded that

      pursuant to CBS News policy, [CBS] will not release these outtakes,
      which were created in the course of our newsgathering. We rely on the
      reporters’ privilege and state shield laws, which protect this material
      from the demands of third parties, such as Dr. Rudolph.

Dr. Rudolph’s counsel responded that all corporations, including news outlets, have a

common law duty to provide non-confidential information needed by litigants and that

the asserted privilege at most covers only confidential sources and information and not

footage created for broadcast but ultimately edited out.

      This Court’s intervention is thus necessary to obtain this discoverable

information.




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                                     Legal Standard

       Federal Rule of Criminal Procedure 17(c) codifies the procedure for either party

to a prosecution to obtain “books, papers, documents, data, or other objects” before

trial. Generally, the movant must “clear three hurdles: (1) relevancy; (2) admissibility;

(3) specificity.” United States v. Nixon, 418 U.S. 683, 700 (1974). Specifically, the

moving party must show:

       (1) that the documents are evidentiary and relevant; (2) that they are not
       otherwise procurable reasonably in advance of trial by exercise of due
       diligence; (3) that the party cannot properly prepare for trial without such
       production and inspection in advance of trial and that the failure to
       obtain such inspection may tend unreasonably to delay the trial; and (4)
       that the application is made in good faith and is not intended as a general
       “fishing expedition.”

Nixon, 418 U.S. at 699–700 (footnote omitted). With respect to “admissibility,” there

is no requirement “that the materials thus subpoenaed must actually be used in

evidence. It is only required that a good-faith effort be made to obtain evidence.”

Bowman Dairy Co. v. United States, 341 U.S. 214, 219–20 (1951).

       The government has taken the position that a lower burden applies when a

subpoena is directed, as in this case, to a non-party rather than a party. See Nixon, 418

U.S. at 699 n.12. This remains an open question. The rule, however, must be

interpreted to further its purpose of upholding the “very integrity of the judicial system

and public confidence in the system” which “depend on full disclosure of all the facts

... .” Id. at 709. “To ensure that justice is done, it is imperative to the function of courts

that compulsory process be available for the production of evidence needed either by

the prosecution or by the defense.” Id.

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                                       Argument

        Lawrence Rudolph’s requested subpoena seeks a narrow and specific category

of admissible, relevant evidence. Specifically, he asks the Court to require 48 Hours to

produce the full interviews of just two fact witnesses: Spencer Kakoma and Roston

Yeyenga. CBS News dispatched their South African correspondent, Debora Patta, to

interview them. On the program, Kakoma made statements that contradict what he

purportedly told the FBI and Yeyenga made statements that are not in the FBI’s

report. Patta herself paraphrased statements that the witnesses allegedly made to her

and were not broadcast that also materially differ from the FBI reports. This could

mean that (i) the witnesses embellished their stories for the television crew, (ii) CBS’s

reporting was inaccurate, perhaps because Patta reported unsupported inferences to

beef up her story, or (iii) the FBI reports are incomplete. It is impossible for Dr.

Rudolph to have a fair trial if his legal team cannot investigate the significant

discrepancies detailed herein and get to the true facts.

        Kakoma is a park ranger at Kafue National Park in Zambia. He accompanied

the Rudolphs on their 2016 hunting trip and was among the first people to enter the

cabin after Mrs. Rudolph’s fatal injury occurred. His broadcast statements differed in

several significant ways from the information contained in the FBI reports produced

in discovery. Examples of the discrepancies include:

        • Kakoma claimed on TV (but apparently not to the FBI) that he suspected foul

play:

        PATTA:   Were you surprised that a shot had gone off?

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        KAKOMA:   Yeah. That’s one of the thing which made me to suspect. … I
        saw Bianca Rudolph removing the ammunition from the—their guns.
        PATTA: So, how do you think ammunition got into the shotgun?
        KAKOMA: I think there must be just someone who loaded it.
        PATTA: Somebody loaded that gun …
        KAKOMA: Yes.
        *     *      *
        PATTA: From the beginning, Spencer says he had questions about
        Larry's version of events, including when Larry told him he was in the
        bath when he heard the gunshot, and raced out to find Bianca dead.

The FBI reports of their interviews with Kakoma never state that he suspected foul

play.

        • Patta claimed on the air that Dr. Rudolph told Kakoma that his wife had

committed suicide and later changed his story—but the FBI’s report of its interview

with Kakoma makes no mention of that assertion:

        PATTA: Spencer says Larry first claimed Bianca died by suicide, shooting
        herself intentionally, while he was in the bathroom. And he says Larry
        was so distraught, that he ran to a nearby river saying he wanted to jump
        in and kill himself. Spencer says he calmed Larry down and they went
        back to the cabin. But now, Larry had a different version of events. It was
        no longer a suicide, but that Bianca accidentally shot herself packing up
        the gun.

        • Kakoma said that Dr. Rudolph said he wanted to kill himself just after his

wife died.

        KAKOMA: He’s crying, crying, “Let me just kill myself because my wife, she
        has committed suicide. She has killed herself. Want to kill myself also.”

The FBI report says, “Larry never said that he wanted to kill himself but Officer

Kakoma was concerned about him” because he was so distraught.

        Roston Yeyenga is the commanding officer at Mumbwa Police Station in Zambia.

His interview with the FBI said nothing about a scream but he said on the air that Dr.

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Rudolph had told Yeyenga that he heard a scream. He also told CBS that the initial

investigation was not rushed and that no one suspected foul play, but this is not in the

FBI report.

A.    The documents are relevant and admissible.

      The relevancy of these witnesses’ knowledge is conceded. They were interviewed

by the government, and their FBI 302s have been produced.

      The subpoenaed interviews are evidentiary because they bear directly on what

supposedly happened in Africa. Additionally, because the government waited years to

bring this case, comparing what these witnesses said to the FBI closer to the time of

Mrs. Rudolph’s death with what they said for television cameras is essential for

separating fact from embellishment. This is especially important given that the

government’s case is largely circumstantial. Dr. Rudolph cannot have a fair trial unless

his counsel is able to effectively cross-examine the witnesses about what they actually

remember and what they suppose or imagine. Additionally, the defense may determine

after viewing the complete raw footage to call one or both of these witnesses in the

defense case.

      Although statements admissible solely for impeachment generally need not be

produced in advance of trial, production is required when, as in this case, “there are

other valid potential evidentiary uses for the same material, and the analysis and

possible transcription of the tapes may take a significant period of time.” Id. at 701–02.

B.    Only CBS possesses the complete footage of the interviews.

      In undersigned counsel’s correspondence with CBS’s associate general counsel,

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CBS conceded that it possesses the requested footage. That footage cannot be obtained

from any other source, and there is no other reasonable means for discovering what

those witnesses said before the cameras. Having access to the raw footage is the only

practical way for the defense to investigate the discrepancies and omissions between

the television broadcast and the FBI reports.

C.     Pre-trial production will avoid trial delays.

       Knowing what these crucial witnesses said in advance of the July trial setting

will make the trial more fair as well as more efficient. Because the government took

years to build its case, witnesses claims about what they remember are crucial. The

discrepancies between what these witnesses told the FBI years ago and what they said

for the media years later are highly relevant both to getting an accurate,

unembellished picture of what these witnesses actually know and to gauging their

credibility.

D.     This is a good-faith and targeted request for crucial statements that are
       not protected by any applicable privilege.

       The subpoena will not unduly burden CBS. This motion seeks very targeted

footage of just two interviews recorded for one television episode. The footage is not

voluminous.

       Neither is it protected by any privilege. Federal Rule of Evidence 501 states that

privileges in federal court are a matter of federal common law. The Senate Report

accompanying the 1975 adoption of the Rules states that Rule 501 “should be

understood as reflecting the view that the recognition of a privilege based on a


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confidential relationship ... should be determined on a case-by-case basis.” S.Rep. No.

93–1277, p. 13 (1974), U.S. Code Cong. & Admin.News 1974, pp. 7051, 7059 (emphasis

added). A fortiori, no privilege applies because the statements sought were on-the-

record and for publication by sources whose identity was always known.

      The leading case in the Tenth Circuit concerning the asserted reporter’s

privilege confirms that the privilege applies only to confidential or off-the-record

information, particularly the names of anonymous and vulnerable sources. See

Silkwood v. Kerr-McGee Corp., 563 F.2d 433 (10th Cir. 1977). Silkwood concerned a

documentary filmmaker who “refused to answer questions which called for disclosure

of confidential information. He did, however, respond to questions which sought

information ... which he did not regard as confidential.” 563 F.2d at 434. This follows

from the Supreme Court’s unequivocal holding that the First Amendment does not

exempt news organizations from generally applicable laws, like Rule 17.

      It is clear that the First Amendment does not invalidate every incidental
      burdening of the press that may result from the endorsement of civil or
      criminal statutes of general applicability. Under prior cases, otherwise
      valid laws serving substantial public interests may be enforced against
      the press as against others, despite the possible burden that may be
      imposed.

Branzburg v. Hayes, 408 U.S. 665, 683 (1972).

                                   CONCLUSION

      As set forth above, the information sought from 48 Hours is relevant, admissible,

available only from CBS, not privileged or confidential, and easy to produce. Dr.

Rudolph seeks this specific and narrow category of raw footage in good faith to prepare


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to examine these witnesses fully but efficiently. CBS has not claimed that it would be

difficult to locate and produce this footage. Accordingly, Mr. Rudolph respectfully

requests that this Court enter an order authorizing him to issue the proposed Rule

17(c) subpoenas to 48 Hours.

      The government advises that it takes no position on this motion.

                               Certificate of Service

      This motion was filed using CM/ECF and served on the prosecution through that

system on May 16, 2022. In addition, a copy was emailed to CBS associate general

counsel Gayle Sproul.

                                       Respectfully submitted,

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